
OFINION.
MoRRis:
The question raised by the petitioner has previously been considered by us and decided adversely to petitioner’s contention. Appeal of Even Realty Co., 1 B. T. A. 355. After the decision of the Court of " Claims in Ludey v. United States, 61 Ct. Cls. 126, which is cited in the petitioner’s brief, we again carefully considered the question;- and x-eached the conclusion, although reluctantly disagreeing 'With the Opinion of the above'court, for which we have the greatest respect, that, in determining gain or loss upon the sale of depreciable property, due allowance must-be made for 'depreciation whether or hot deductions therefor had been taken by the taxpayer in prior-years. ’ Appeals of Cotton Concentration Co., 4. B. T. A. 121; Capital City Investment Co., 4 B. T. A. 933, and Island Line Shipping Co. v. Commissioner, 4 B. T. A. 1055.

Judgment will be entered for the respondent.

